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                                 EXHIBIT 25
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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO


   In re:
                                                                               PROMESA
   THE FINANCIAL OVERSIGHT AND                                                 Title III
   MANAGEMENT BOARD FOR PUERTO RICO,
                                                                               No. 17 BK 3283-LTS
                          as representative of                                 (Jointly Administered)

   THE COMMONWEALTH OF PUERTO RICO,

                                                     Debtor.1


   In re:
                                                                               PROMESA
   THE FINANCIAL OVERSIGHT AND                                                 Title III
   MANAGEMENT BOARD FOR PUERTO RICO,
                                                                               No. 17 BK 3567-LTS
                          as representative of

   PUERTO RICO HIGHWAYS AND
   TRANSPORTATION AUTHORITY (“HTA”),

                                                     Debtor.

   In re:
   THE FINANCIAL OVERSIGHT AND
   MANAGEMENT BOARD FOR PUERTO RICO,                                           PROMESA
                                                                               Title III
            as representative of
   THE COMMONWEALTH OF PUERTO RICO,
                                                                               Adv. Proc. No. 20-00003-LTS
                                       Plaintiff,
   v.

   1
          The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
   (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
   (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii)
   Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK 3284-LTS) (Last Four
   Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
   No. 17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
   Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last Four
   Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17- BK-
   4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”)
   (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed
   as Bankruptcy Case numbers due to software limitations).
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   AMBAC ASSURANCE CORPORATION, ASSURED
   GUARANTY CORP., FINANCIAL GUARANTY
   INSURANCE COMPANY and U.S. BANK TRUST
   NATIONAL ASSOCIATION, as Trustee

   Defendants.

   In re:
   THE FINANCIAL OVERSIGHT AND
   MANAGEMENT BOARD FOR PUERTO RICO,                      PROMESA
                                                          Title III
             as representative of
   THE COMMONWEALTH OF PUERTO RICO,
                                                          Adv. Proc. No. 20-00004-LTS
                                      Plaintiff,
   v.
   AMBAC ASSURANCE CORPORATION, ASSURED
   GUARANTY CORPORATION, FINANCIAL
   GUARANTY INSURANCE COMPANY and THE
   BANK OF NEW YORK MELLON, as Trustee

   Defendants.


     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO RICO,                    PROMESA
                                                          Title III
             as a representative of

     THE COMMONWEALTH OF PUERTO RICO,                     Adv. Proc. No. 20-00005-LTS

             Plaintiff,

        v.

     AMBAC ASSURANCE CORPORATION, ASSURED
     GUARANTY CORP., ASSURED GUARANTY
     MUNICIPAL CORP., NATIONAL PUBLIC
     FINANCE GUARANTEE CORPORATION,
     FINANCIAL GUARANTY INSURANCE
     COMPANY, PEAJE INVESTMENTS LLC, and THE
     BANK OF NEW YORK MELLON, as Fiscal Agent

   Defendants.
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    STIPULATION REGARDING AUTHENTICITY OF DOCUMENTS IN CONNECTION
                        WITH LIFT-STAY MOTIONS

                      The Financial Oversight and Management Board for Puerto Rico (“Oversight

   Board”) and the Puerto Rico Fiscal Agency and Financial Advisory Authority (“AAFAF,” and

   together with the Oversight Board, the “Government Parties”), through their respective

   undersigned counsel, and Ambac Assurance Corporation, Assured Guaranty Corp., Assured

   Guaranty Municipal Corp, National Public Finance Guarantee Corporation, Financial Guaranty

   Insurance Company, The Bank of New York Mellon, and U.S. Bank Trust National Association

   (the “Lift-Stay Parties”)2 stipulate and agree as follows:

                                                    RECITALS

                  WHEREAS, the Motion of Assured Guaranty Corp., Assured Guaranty Municipal

   Corp., Ambac Assurance Corporation, National Public Finance Guarantee Corporation, and

   Financial Guaranty Insurance Company for Relief from the Automatic Stay, or, in the Alternative,

   Adequate Protection (Dkt. 10102) (the “HTA Lift-Stay Motion”), and Ambac Assurance

   Corporation, Financial Guaranty Insurance Company, Assured Guaranty Corp., Assured

   Guaranty Municipal Corp., and the Bank of New York Mellon’s Motion Concerning Application

   of the Automatic Stay to the Revenues Securing the CCDA Bonds (Dkt. 10104) (the “CCDA Lift-

   Stay Motion”) were filed on January 16, 2020, and the Amended Motion of Ambac Assurance

   Corporation, Financial Guaranty Insurance Company, Assured Guaranty Corp., Assured

   Guaranty Municipal Corp., and U.S. Bank Trust National Association, Concerning Application of

   the Automatic Stay to the Revenues Securing PRIFA Rum Tax Bonds (Dkt. 10602) (the “PRIFA




   2
       The Government Parties and the Lift-Stay Parties are collectively referred to as the “Parties.”
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   Lift-Stay Motion,” and together with the HTA Lift-Stay Motion and CCDA Lift-Stay Motion, the

   “Lift-Stay Motions”) were filed on January 31, 2020;

               WHEREAS, on February 3, 2020 the Government Parties filed the Opposition of

   Financial Oversight and Management Board for Puerto Rico to Motion of Assured Guaranty

   Corp., Assured Guaranty Municipal Corp., Ambac Assurance Corporation, National Public

   Finance Guarantee Corporation, and Financial Guarantee Insurance Company for Relief from

   Automatic Stay or, in the Alternative, Adequate Protection (Dkt. 10618) (the “HTA Opposition,”),

   the Opposition of Commonwealth of Puerto Rico to Motion of Ambac Assurance Corporation,

   Financial Guaranty Insurance Company, Assured Guaranty Corp., Assured Guaranty Municipal

   Corp., and the Bank of New York Mellon Concerning Application of Automatic Stay (Dkt. 10615)

   (the “CCDA Opposition”), and the Supplemental Opposition of Commonwealth of Puerto Rico to

   Amended PRIFA Bondholder Motion to Lift Automatic Stay (Dkt. 10611) (the “PRIFA

   Opposition,” and together with the HTA Opposition and the CCDA Opposition, the “Lift-Stay

   Oppositions”);

               WHEREAS, on February 14, 2020 the Court entered its Order Granting Urgent

   Motion to Adjourn Hearing on Motions for Relief from the Automatic Stay and Extend Deadlines

   for Replies in Support of Motions for Relief from the Automatic Stay (Dkt. 11057), which provided

   for, among other things, limited discovery relating to factual representations in certain enumerated

   paragraphs in the Lift-Stay Oppositions;

               WHEREAS, in response to that Order, AAFAF has produced documents bearing the

   following Bates prefixes CW_STAY_, CCDA_STAY_, HTA_STAY_, and PRIFA_STAY_ (the

   “Produced Documents”);




                                                   -2-
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               WHEREAS, on April 8, 2020, the Court entered an order adopting the Parties’ Joint

   Stipulation to Modify Certain Deadlines in Connection with Lift Stay and Related Motions and

   Revenue Bond Complaints Set Forth in the Court’s March 26, 2020 Order, which set May 13,

   2020 as the date of the preliminary hearing referenced in Paragraph 1(b) of the Court’s March 26,

   2020 Order (ECF No. 12540), see ECF No. 127;

               WHEREAS, in order to limit the need for additional discovery the Parties have agreed

   to address certain issues by stipulation.

                                               AGREEMENT

                  WHEREFORE, IT IS HEREBY STIPULATED AND AGREED:

          1.      Subject to the exclusions identified herein, the Parties agree that in connection with

   the Lift Stay Motions, for purposes of Rule 901 of the Federal Rules of Evidence, the Parties will

   not contest the authenticity of any Produced Document so long as the document on its face

   indicates it was authored or otherwise created by: (1) the Government Parties, the Commonwealth,

   the Puerto Rico Infrastructure Financing Authority, the Puerto Rico Tourism Company, the Puerto

   Rico Convention Center District Authority, the Puerto Rico Highways and Transportation

   Authority, or any of their agents or employees acting within the scope of their agency or

   employment (collectively, the “Government Entities”), or Conway MacKenzie, Inc, or Ankura

   Consulting Group, LLC, or any of their agents or employees acting within the scope of their agency

   or employment (collectively, the “Government Advisors”), or (2) Oriental Financial Services

   Corp, Popular, Inc., Government Development Bank for Puerto Rico, Citigroup Inc., Bank of New

   York Mellon Corporation, U.S. Bancorp, Bank of Nova Scotia, and First BanCorp, or any of their

   agents or employees acting within the scope of their agency or employment (collectively, the

   “Third Party Banks”).



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          2.      Subject to the exclusions identified herein, the Parties agree that in connection with

   the Lift Stay Motions, they will not dispute that any Produced Document meets the requirements

   of Federal Rules of Evidence 803(6)(A)-(D) so long as the circumstances indicate that the

   document was authored or otherwise created by the Government Entities, the Government

   Advisors, or the Third-Party Banks.

          3.      The following documents are excluded from this Stipulation:

                  a.     Produced Documents that bear no indicia of having been authored or

          otherwise created by the Government Entities or Third-Party Banks;

                  b.     Handwritten notes in any Produced Document, provided, however, that

          (i) the remainder of the document (without the handwritten notes) shall be covered by this

          Stipulation unless another exclusion applies, and (ii) any handwritten notes that appear on

          their face to be part of a document, made in the ordinary course by the Government Entities,

          the Government Advisors, or the Third Party Banks, shall be covered by this Stipulation

          unless another exclusion applies; and

                  c.     Produced Documents that are missing pages or contain extraneous pages.

          4.      Notwithstanding the above, the Parties do not waive and expressly reserve their

   right to assert any other objection they may have to the admissibility of the Produced Documents,

   or the statements contained therein.



                              [Remainder of page left blank intentionally]




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    Dated: April 23, 2020
           San Juan, Puerto Rico

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